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                             THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

MARGARET STARKS,                                  )
                                                  )
                Plaintiff,                        )
v.                                                )   Cause No: 4:21-cv-00435-RLW
                                                  )
ST. LOUIS COUNTY, ET. AL.,                        )
                                                  )
                Defendants.                       )

                   PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                      AGAINST DEFENDANT ST. LOUIS COUNTY

        COME NOW Plaintiff, by and through undersigned counsel, and files this Motion for

Summary Judgment, pursuant to Federal Rules of Civil Procedure 56(a), and state as follows:

        1.      Plaintiff Margaret Starks hereby moves for summary judgment on the issue of

liability against Defendant St. Louis County Based upon Count II (unlawful policies), Count III

(Unlawful pattern, practice, or custom), and Count IV (Failure to Train, Supervise, and/or

Discipline), all of which are cognizable pursuant to 42 U.S.C. §1983.

        2.      Margaret Starks is the mother of Mr. Drexel Starks.

        3.      On August 4, 2015, during Mr. Starks’ intake medical assessment at the Justice

Center, he was diagnosed as suffering from “Acute Withdrawal Syndrome.”

        4.      Defendants Reginald Tinoco, Debra Tucker were nurses at the St. Louis County

Justice Center who were charged with assisting him to recover from Acute Withdrawal

Syndrome.

        5.      Defendants Tinoco and Tucker failed to assess and provide medication to Mr.

Starks at critical times, leading to his death.
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       6.         Defendant Rita Skaggs (formerly Rita Hendrix) was a nursing supervisor at the

Justice Center.

       7.         Defendant Skaggs failed to properly supervise Defendants Tinoco and Tucker.

       8.         All three of the above-named Defendants caused Plaintiff damage by depriving

Mr. Starks of his federal Constitutional rights, as set forth in Plaintiff’s Fourth Amended

Complaint.

       9.         The actions of the all three individual Defendants were guided and directed by the

County’s unconstitutional policies, procedures, customs and practices.

       10.        The County is liable to Plaintiff on the basis of Monell liability.

       11.        Contemporaneously with this Motion, Plaintiff is filing PLAINTIFF’S

MEMORANDUM IN SUPPORT OF HER MOTION FOR PARTIAL SUMMARY JUDGMENT

AGAINST DEFENDANT SAINT LOUIS COUNTY.

       WHEREFORE, Plaintiffs respectfully pray that this Honorable Court grant this motion

and enter partial summary judgment on the issue of liability in favor of Plaintiff.

Dated: November 10, 2023

                                                         Respectfully submitted,




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                                 CERTIFICATE OF SERVICE


       The undersigned hereby certifies that, on this 10th day of November, 2023, a true and
accurate copy of the foregoing was filed electronically with the Clerk of this Court and thereby
served upon counsel of record for all parties via operation of that system.


                                                                     /s/ Mark J. Pedroli
